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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

                                         :
METROPOLITAN FINANCIAL
SERVICES, et al.                         :

      v.                                 : Civil Action No. DKC 2005-2330

                                         :
ROGER R. VALES, et al.
                                         :

                              MEMORANDUM OPINION

      Presently pending and ready for resolution is Defendants’

motion to dismiss.       The issues are fully briefed and the court

now rules pursuant to Local Rule 105.6, no hearing being deemed

necessary.      For    the     reasons        that   follow,     the    court    grants

Defendants’   motion         to   dismiss          counts   II    and   III     without

prejudice, and will require Plaintiffs to particularize the

status of Metropolitan Financial Services.

I. Background

      Metropolitan Financial Services (“Metropolitan”) and Alma

Preciado (“Preciado”), (“Plaintiffs”), filed a complaint against

Roger Vales and Lourdes Vales, (“Defendants”), in the Circuit

Court for Montgomery County, Maryland, on July 15, 2005.                            The

complaint contains three counts: malicious prosecution (count

I),   defamation      (count      II),       and   tortious      interference     with

advantageous business relationships (count III).                          Defendants
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removed the case to this court, asserting that this court has

diversity jurisdiction pursuant to 28 U.S.C. § 1332.

    Plaintiffs assert the following facts.           Dorita Lemos Down

(“Down”) has been seeking to do one or more development projects

under the name Pidegro, which stands for Pioneer Development

Group.    These development projects serve the purpose of building

lower-cost housing for economically disadvantaged people in

Mexico and other countries.      In connection with these projects,

Down created a website for Pidegro, which stated that both

governmental    and   non-governmental      organizations   pledged     to

assist in these projects.

    Preciado, a resident of Montgomery County, Maryland, owns

and operates Metropolitan Financial Services.           As a long-time

associate of Down, Preciado and Metropolitan agreed to assist

Down in securing a bridge loan for Pidegro until Down could

secure more financing.        Down completed a Uniform Residential

Loan Application (“Loan Application”), dated March 17, 2005, in

which she requested a loan in the amount of $350,000.00, and

offered    certain    real   estate   as   collateral   (“Offered     Real

Property”).     In this Loan Application, Down represented that

title to the Offered Real Property was held in joint tenancy by

Down and her husband, Harry Down.




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    Plaintiffs assert that shortly after, Defendant Roger Vales,

who had previously placed loans through Metropolitan, decided to

fund Down’s $350,000 loan.       Plaintiffs then obtained a lien

report on the Offered Real Property, which was forwarded to

Vales.   This lien report revealed that title to the Offered Real

Property was solely in the name of Harry Down, and not in the

names of Dorita Lemos Down and Harry Down as joint tenants.

Nonetheless,   Defendant    Roger       Vales   delivered   a   check   to

Metropolitan, made payable to Dorita Lemos Down in the amount of

$350,000, and dated April 5, 2005.         Plaintiffs then forwarded a

draft deed of trust to Defendant Vales, and he requested that

Plaintiffs also get the signature of Harry Down on the deed of

trust.    On the date of settlement, Down asserted that her

husband, Harry Down, could not come to the settlement because of

his particularly high blood pressure.            Down alone signed the

promissory note and deed of trust, and Plaintiffs released the

check in the amount of $350,000 to her.             Down deposited the

check into an account opened in the name of Pidegro, LLC.             After

it was too late to stop payment on the check, Down asserted that

she never told her husband about the loan.             Down failed and

refused to return the full amount of the loan, and Plaintiffs

filed suit against Down to recover the amount.




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    Defendant    Vales     then    filed    criminal      charges   against

Preciado, charging her with theft, or conspiracy to commit

theft.   Those   charges    were   dismissed      (nolle   prossed),    and

Plaintiffs   filed   the   current       suit   against    Defendants   for

malicious prosecution, defamation, and tortious interference

with advantageous business relations.




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II. Standard of Review

      A motion to dismiss pursuant to FED. R. CIV. P. 12(b)(6)

ought not be granted unless "it appears beyond doubt that the

plaintiff can prove no set of facts in support of his claim

which would entitle him to relief."         Conley v. Gibson, 355 U.S.

41, 45-46 (1957).   All that the Federal Rules of Civil Procedure

require of a complaint is that it contain “‘a short and plain

statement of the claim’ that will give the defendant fair notice

of what the plaintiff’s claim is and the grounds upon which it

rests.”   Conley, 355 U.S. at 47; Comet Enter. Ltd. v. Air-A-

Plane Corp., 128 F.3d 855, 860 (4 th          Cir. 1997).      “Given the

Federal Rules’ simplified standard for pleading, ‘[a] court may

dismiss a complaint only if it is clear that no relief could be

granted under any set of facts that could be proved consistent

with the allegations.’” Swierkiewicz v. Sorema N.A., 534 U.S.

506, 514 (2002)(quoting Hishon v. King & Spalding, 467 U.S. 69,

73 (1984).

     In reviewing the complaint, the court accepts all well-pled

allegations of the complaint as true and construes the facts and

reasonable   inferences   derived       therefrom   in   the   light   most

favorable to the plaintiff.      Ibarra v. United States, 120 F.3d

472, 473 (4th Cir. 1997).    The court must disregard the contrary

allegations of the opposing party.          A. S. Abell Co. v. Chell,

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412 F.2d 712, 715 (4th    Cir. 1969).      The court need not, however,

accept unsupported legal conclusions, Revene v. Charles County

Comm’rs, 882 F.2d 870, 873 (4th Cir. 1989), legal conclusions

couched as factual allegations, Papasan v. Allain, 478 U.S. 265,

286 (1986), or conclusory factual allegations devoid of any

reference to actual events, United Black Firefighters v. Hirst,

604 F.2d 844, 847 (4th     Cir. 1979).

     A party may move to amend his complaint pursuant to Rule

15(a),   and   leave   “shall    be   freely   given   when   justice   so

requires.”      FED.R.CIV.P.    15(a).      Under   Rule   15(a),   “[t]he

decision to grant a party leave to amend its pleading rests

within the sound discretion of the district court.”           HealthSouth

Rehab. Hosp. v. Am. Red Cross, 101 F.3d 1005, 1010 (4 th Cir.

1996), cert. denied, 520 U.S. 1264 (1997) (citing               Sandcrest

Outpatient Serv. v. Cumberland County Hosp. Sys., 853 F.2d 1139,

1148 (4th Cir. 1988)).      The general and oft-cited rule is that

leave sought should be freely given “in the absence of any

apparent or declared reason such as undue delay, bad faith or

dilatory motive on the part of the movant, . . . undue prejudice

to the opposing party by virtue of allowance of the amendment,

futility of the amendment, etc.”          Foman v. Davis, 371 U.S. 178,

182 (1962).

III. Analysis

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    Defendants present a series of arguments. First, Defendants

contend that Plaintiffs’ thirty-five page complaint does not

meet the requirements of Fed.R.Civ.P. 8(a) and 8(e)(1), which

require that a pleading which sets forth a claim for relief

shall contain a short and plain statement of the claim, and that

each averment shall be simple, concise, and direct.                (Paper 10,

at 1).   Second, Defendants state that Plaintiffs’ complaint

contains numerous bald allegations and generalizations, and is

thus in violation of Federal Rule 9(b), which requires that all

averments of fraud and the circumstances constituting fraud be

stated with particularity.     (Paper 10, at 1).         Third, Defendants

assert that Metropolitan lacks the capacity to file suit because

its charter to do business was forfeited on March 3, 2004, prior

to the events that gave rise to this suit. Id. at 2.                  Fourth,

Defendants’ motion requests that the count for defamation be

dismissed, that there is no basis for the complaint against

Lourdes Vales for defamation, and that Plaintiffs’ request for

punitive damages also be dismissed.                Id. at 2-4.       Finally,

Defendants assert that Plaintiffs failed to state a claim for

tortious interference with business relationships.                 Id. at 5.

    In   their   opposition    to   Defendants’      motion   to    dismiss,

Plaintiffs   assert   that    their       claims   are   proper,    and   that




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Metropolitan    does   not   claim   capacity    to   file   suit      as   a

corporation, but as a sole proprietorship.

     A.    Metropolitan’s Standing

     Defendants’ claim that Metropolitan lacks standing assumes

that Metropolitan filed suit as a corporation.               Defendants’

motion to dismiss states that Metropolitan’s charter to do

business was forfeited on March 3, 2004, and thus Metropolitan

lacks standing to sue as a corporation.           (Paper 10, at 2).         A

Maryland corporation “has the general powers [to] . . . sue, be

sued, complain, and defend in all courts.”            MD. CODE ANN., CORPS.

& ASS’NS § 2-103(2).    However, when the Maryland Department of

Assessments and Taxation issues a proclamation declaring that a

corporation’s charter is forfeited, “the powers conferred by law

on the corporation are inoperative, null, and void.”              MD . C ODE

ANN., CORPS. & ASS’NS § 3-503(d).    This includes the power to sue.

See Dual Inc. v. Lockheed Martin Corp., 383 Md. 151, 163, 857

A.2d 1095, 1101 (2004) (holding that a corporation that loses

its charter is a legal non-entity and lacks the capacity to sue

or be sued).

     A sole proprietorship, on the other hand, is a “business in

which one person owns all the assets, owes all the liability,

and operates in his or her personal capacity.”                  BLACK’S LAW

DICTIONARY (8th ed. 2004).   It does not have a separate existence:


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              “The sole proprietorship form of business

              provides ‘complete identity of the business

              entity with the proprietor himself. . . .’”

              Bushey v. Northern Assur. Co. of Am., 362

              Md. 626, 637, 766 A.2d 598, 603 (Md. 2001)

              (quoting   1    Z. C AVITCH,   BUSINESS ORGANIZATIONS   §

              1.04[1],   at    1-23   (Matthew     Bender    2000)).

              Maryland law, however, may require a person

              engaged in a business under any name other

              than his own to file a certificate with the

              Department of Assessments and Taxation.             MD.

              CODE ANN., CORPS. & ASS’NS § 1-406.

    Plaintiffs’ complaint states that Metropolitan is a resident

of Montgomery County, Maryland, owned and operated by Alma

Preciado. (Paper 2, at 2).              Based on the language contained in

the complaint, Metropolitan may be a sole proprietorship, owned

and operated by Alma Preciado.               Plaintiffs must clarify the

status   of    Metropolitan,      and    clearly    designate     whether   this

action is brought by Alma Preciado, trading as Metropolitan

Financial Services.          If there is some reason why there should be

two separate plaintiffs, the amended complaint must so state.

    B.        Malicious Prosecution




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      Other than contending that the entire complaint is neither

short      nor    plain,     Defendants     did      not,    as   pointed     out    by

Plaintiffs,         contend that count I for malicious prosecution

fails      to    allege    the    necessary        elements.          While    overly

inclusive, the complaint can be understood.                       Accordingly, the

motion to dismiss count I will be denied.

      C.        Defamation

      The Court of Appeals of Maryland has defined a defamatory

statement as “one which tends to expose a person to public

scorn, hatred, contempt or ridicule, thereby discouraging others

in   the    community      from    having      a   good     opinion   of,     or   from

associating or dealing with, that person.”                     Holt v. Camus,       128

F.Supp.2d 812, 815 (D.Md. 1999), citing Batson v. Shiflett, 325

Md. 684, 722-23, 602 A.2d 1191 (1992). In order to state a claim

for defamation under Maryland law, a plaintiff must allege that:

(1) the defendant made a defamatory statement regarding the

plaintiff to a third person; (2) the statement was false; (3)

the defendant was legally at fault in making the statement; and

(4) the plaintiff suffered harm thereby.                    Gohari v. Darvish, 363

Md. 42, 54, 767 A.2d 321 (2001), citing Rosenberg v. Helinski,

328 Md. 664, 675, 616 A.2d 866 (1992); Samuels v. Tschechtelin,

135 Md.App. 483, 544, 763 A.2d 209 (2000); Gooch v. Md. Mech.

Sys., Inc., 81 Md.App. 376, 389, 567 A.2d 954 (1990); see also

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Murray v. United Food & Commercial Workers Int’l Union, 289 F.3d

297, 305 (4th Cir. 2002).          Fault may be based on actual malice or

negligence.        Samuels, 135 Md.App. at 544.             Actual malice can be

established by a clear and convincing showing that a defendant

published a statement with actual knowledge of its falsity,

although negligence can be shown by a preponderance of the

evidence.     Id.     In order to recover more than actual damages, a

plaintiff must show that the defendant acted with actual malice

when making the defamatory statements.                    Holt, 128 F.Supp.2d at

815.

       Defendants move to dismiss the defamation claim on the

grounds     that    the   allegations          are    entirely    devoid    of   any

reference to actual events.               “Though neither ‘vagueness’ nor

‘lack of detail’ are sufficient grounds on which to grant a

motion to dismiss, Kress v. Food Employers Labor Relations

Ass’n, 217 F.Supp.2d 682, 685 (D.Md. 2002) (citations omitted),

a   court    deciding     such     a    motion       need   not   accept   factual

allegations devoid of any reference to actual events.”                       D & G

Flooring, LLC v. Home Depot U.S.A., Inc.,                     346 F.Supp.2d 818,

824 (D.Md. 2004).

       A complaint must provide “a short and plain statement of the

claim     showing     that   the       pleader       is   entitled   to    relief.”

FED.R.CIV.P. 8(a)(2).        A complaint alleging defamation is no

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different,     and   the   usual    standards    of   notice    pleading    are

applicable:

             Although the pleading requirements of Rule
             8(a) are very liberal and easily satisfied,
             many federal courts have made it clear that
             more detail often is required than the bald
             statement by the plaintiff that she has a
             valid claim of some legally recognizable
             type against the defendant . . . Indeed,
             where allegations are “so baldly conclusory
             that they fail to give notice of the basic
             events and circumstances of which the
             plaintiff complains, [the allegations] are
             meaningless as a practical matter and, as a
             matter of law, insufficient to state a
             claim.” Stordeur v. Computer Assocs. Int'l,
             Inc., 995 F.Supp. 94, 98 (E.D.N.Y. 1998)
             (citing Barr v. Abrams, 810 F.2d 358, 363
             (2nd Cir. 1987)); see also MedImmune, Inc. v.
             Centocor, Inc., 271 F.Supp.2d 762, 771
             (D.Md. 2003).

D & G Flooring, 346 F.Supp.2d at 824.                 Plaintiffs’ complaint

contains insufficient information concerning Defendants’ alleged

defamatory statements.          Plaintiffs contend that Roger Vales is

“providing injurious information about Metropolitan Financial

Services and Alma Preciado to the business partners of one or

the other or both Plaintiffs,” (paper 2 at 29), but does not

state    the   exact   nature      of   this   information     nor   when   this

information was communicated.

    Plaintiffs do not state to whom Vales made defamatory

statements, when the statements were made, or the content of

those statements.          Therefore, Plaintiffs fail to allege an

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essential component of defamation.              See Metromedia, Inc. v.

Hillman, 285 Md. 161, 172, 400 A.2d 1117 (1979).            Accordingly,

Defendants’ motion to dismiss count II will be granted without

prejudice.

    Any   re-pleading    of   the   defamation      count   must    include

averments which, at a minimum, include: (1) the identity of the

maker of the defamatory statement; (2) the exact content of the

defamatory statement; (3) the date on which the defamatory

statement was made; (4) the persons to whom the defamatory

statement was communicated; (5) the date on which Vales was

advised by the Plaintiffs of the falsity of the defamatory

statement; and (6) an averment of damages made with sufficient

particularity to demonstrate a good faith basis for a claim for

defamation that exceeds $75,000.          See S. Volkswagen, Inc. v.

Centrix Fin., LLC, 357 F.Supp.2d 837, 844 (D.Md. 2005).                  If

Plaintiffs contend that Lourdes Vales is liable on a defamation

theory, they must so state with particularity.

    D.    Tortious Interference          with    Advantageous      Business
          Relationships

    Under Maryland law, to prove tortious interference with

business relationships, a plaintiff must show:

          (1) intentional and willful acts; (2)
          calculated to cause damage to the plaintiffs
          in their lawful business; (3) done with the
          unlawful purpose to cause such damage and

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          loss, without right or justifiable cause on
          the   part   of   the   defendants   (which
          constitutes malice); and (4) actual damage
          and loss resulting.

Alexander & Alexander Inc. v. B. Dixon Evander & Assocs., Inc.,

336 Md. 635, 652, 650 A.2d 260 (1994); see also Fare Deals, Ltd.

v. World Choice Travel.Com, Inc., 180 F.Supp.2d 678, 691 (D.Md.

2001) (stating that the plaintiff “must plead facts — rather

than bare legal conclusions” to establish these elements).             The

plaintiff must establish “both a tortious intent and improper or

wrongful conduct.” Alexander, 336 Md. at 656 (citation                 and

internal quotation marks omitted); see also Mates v. N. Am.

Vaccine, Inc., 53 F.Supp.2d 814, 828-29 (D.Md.1999) (dismissing

a claim of tortious interference when plaintiff failed to allege

“conduct that is independently wrongful or unlawful”).                  To

satisfy the third element, the defendants’ conduct must be

“independently wrongful or unlawful, quite apart from its effect

on the plaintiff's business relationships.”         Alexander, 336 Md.

at 657; see also K & K Management, Inc. v. Lee, 316 Md. 137,

158-63, 557 A.2d 965 (1989).       This includes “common law torts,

and violence or intimidation, defamation, injurious falsehood or

other fraud, violation of criminal law, and the institution or

threat of groundless civil suits or criminal prosecutions in bad




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faith.” Alexander, 336 Md. at 657 (internal quotation marks omitted).

       Plaintiffs have failed to allege any specific facts that

Defendants maliciously intended to damage Plaintiffs’ business

relations     with     others.        Moreover,      it   is   unclear   from    the

complaint whether Plaintiffs assert a separate cause of action

against Defendants for tortious interference with Plaintiffs’

business relationships, or whether Plaintiffs are arguing that

this    interference        was   a   form   of     damage   resulting   from    the

alleged defamation.          Accordingly, Defendants’ motion to dismiss

count III will be granted without prejudice.

IV. Conclusion

       For the foregoing reasons, the Defendants’ motion to dismiss

is     granted   without      prejudice        as    to   counts    II   and    III.

Plaintiffs will have 15 days within which to file an Amended

Complaint, properly setting forth the capacity, if any, of

Metropolitan      as    a    separate        plaintiff,      and   pleading     more

completely and precisely the claims for defamation and tortious

interference.        A separate Order will follow.




                                             /s/
                                        DEBORAH K. CHASANOW
                                        United States District Judge

                                        November 14, 2005


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